OPINION — AG — THE ATTORNEY GENERAL APPLIES THAT FAMILIAR RULE THAT PUBLIC OFFICERS HAVE ONLY SUCH AUTHORITY AS IS CONFERRED UPON THEM BY LAW, AND SUCH AUTHORITY MUST BE EXERCISE IN THE MANNER PRESCRIBED BY LAW, BROWN V. STATE ELECTION BOARD, OKL. 369 P.2d 140, AND IN ANSWER TO YOUR QUESTION ADVISES YOU THAT THERE IS NO STATUTE THAT GIVES YOU A DUTY OR AUTHORITY TO COMMENCE AN ACTION TO TERMINATE A PARENT'S PARENTAL RIGHTS TO HIS CHILD. CITE:  10 O.S. 1961 105 [10-105], 10 O.S. 1961 101 [10-101], 10 O.S. 1965 Supp., 471-475 [10-471]-[10-475](CHARLES OWENS) ** SEE: OPINION NO. 71-170 (1971) **